                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT


IN RE:


SILVERSIDE SENIOR LIVING, LLC,1                  Case No. 21-44887-lsg
et al,

                                                 Chapter 11 Proceeding
              Debtor.                            Hon. Lisa S. Gretchko
                                                 Jointly Administered
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    ORDER MODIFYING ORDER ESTABLISHING DEADLINES AND PROCEDURES
       IN THE CASE OF A SMALL BUSINESS DEBTOR WHO HAS ELECTED
           TO HAVE SUBCHAPTER V OF CHAPTER 11 APPLY [ECF 58]

       On July 15, 2021, the Court entered an Order Establishing Deadlines and
Procedures in the Case of a Small Business Debtor Who Has Elected to Have
Subchapter V of Chapter 11 Apply (ECF 58; the “Scheduling Order”). On July 30, 2021,
the Court conducted the status conference in this case pursuant to 11 U.S.C. § 1188(c)
and, for the reasons stated on the record at said conference,
       IT IS HEREBY ORDERED that paragraph 1(a) of the Scheduling Order is
modified and the deadline for the Debtor to file all unfiled overdue tax returns is
extended to August 20, 2021.

      IT IS FURTHER ORDERED that, except as modified herein, the Scheduling
Order remains in full force and effect.


Signed on August 2, 2021




1 The Debtors in these jointly administered proceedings along with the last four digits of
its federal tax id number are: Silverside Senior Living, LLC (2357)(Case No. 21-44887-
lsg) and Graceway South Haven, LLC (9393)(Case No. 21-44888-lsg).

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